     Case 1:18-cr-00073-JLT-SKO Document 238 Filed 01/14/20 Page 1 of 3


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 6   Attorneys for Defendant
     RAFAEL SANCHEZ, JR.
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                    Case No. 1:18-cr-00073-LJO-SKO
12                     Plaintiff,                  STIPULATION TO CONTINUE
                                                   SENTENCING; ORDER
13    vs.
                                                   Date: March 20, 2020
14    RAFAEL SANCHEZ, JR.,                         Time: 8:30 a.m.
                                                   Judge: Hon. Dale A. Drozd
15                    Defendant.
16
17
18          IT IS HEREBY STIPULATED, by and between the parties, through their respective
19   counsel, Assistant United States Attorney Thomas Newman, counsel for plaintiff, and Assistant
20   Federal Defender Reed Grantham, counsel for defendant Rafael Sanchez, Jr., that the sentencing
21   hearing currently scheduled for January 27, 2020, at 8:30 a.m. may be continued to March 20,
22   2020, at 8:30 a.m.
23          Probation filed its initial Presentence Investigation Report (“PSR”) pertaining to Mr.
24   Sanchez on November 22, 2019. See Dkt. #201. In light of information contained in the draft
25   PSR and because undersigned counsel was out of the office on a pre-planned vacation for the
26   two and a half weeks immediately preceding and following the prior January 6, 2020 sentencing
27   date, the parties continued this matter to January 27, 2020. At the time, undersigned counsel
28   requested documents relevant for sentencing from the Bureau of Prisons and Kern County.
     Case 1:18-cr-00073-JLT-SKO Document 238 Filed 01/14/20 Page 2 of 3


 1            Mr. Sanchez provided his informal objections to Probation on December 30, 2019. See
 2   Dkt. #228-1 at 1-4.
 3            On January 6, 2020, Probation filed its final PSR pertaining to Mr. Sanchez. See Dkt.
 4   #228. The final PSR notably contained substantial additional information pertaining to Mr.
 5   Sanchez’s prior conviction. See Dkt. #228 at 19, ¶ 68; #228-2 at 2. Additionally, the final draft of
 6   the PSR declined to adopt a primary contention of Mr. Sanchez related to an allegation of his
 7   gang membership or affiliation. See Dkt. #228-1 at 2, #228-2 at 2, and #228 at 5, ¶ 8.
 8            Mr. Sanchez has previously requested documents from the Bureau of Prisons and from
 9   Kern County that are relevant for sentencing and that would specifically relate to the allegations
10   related to his prior conviction and to his purported gang membership/affiliation. However, such
11   documents have not been received. The defense is requesting additional time to receive and
12   obtain such information and to further investigate information contained in the report that is
13   relevant for sentencing purposes. The government does not oppose this request. The March 20,
14   2020 date is a mutually agreeable date for both parties.
15            As this is a sentencing hearing, no exclusion of time is necessary.
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17                                                  Respectfully submitted,
18                                                  McGREGOR W. SCOTT
                                                    United States Attorney
19
20   Date: January 13, 2019                         /s/ Thomas Newman
                                                    THOMAS NEWMAN
21                                                  Assistant United States Attorney
                                                    Attorney for Plaintiff
22
23                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
24
25   Date: January 13, 2020                         /s/ Reed Grantham
                                                    REED GRANTHAM
26                                                  Assistant Federal Defender
                                                    Attorney for Defendant
27                                                  RAFAEL SANCHEZ, JR.
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     Sanchez, Jr. – Stipulation
     and Proposed Order
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     Case 1:18-cr-00073-JLT-SKO Document 238 Filed 01/14/20 Page 3 of 3


 1
 2                                             ORDER
 3            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the sentencing hearing
 4   set for Monday, January 27, 2020, at 8:30 a.m. be continued to Friday, March 20, 2020, at 8:30
 5   a.m.
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     IT IS SO ORDERED.
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 8       Dated:       January 13, 2020                    /s/ Lawrence J. O’Neill _____
                                                        UNITED STATES DISTRICT JUDGE
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     Sanchez, Jr. – Stipulation
     and Proposed Order
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